                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


 UNITED STATES OF AMERICA,                      )
                                                )
                       Plaintiff,               )
                                                )
 v.                                             )           No. 3:13-CR-161
                                                )           (REEVES/GUYTON)
 GEYSER DELEON,                                 )
                                                )
                       Defendant.               )


                            REPORT AND RECOMMENDATION

        All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

 District Court as may be appropriate. This case was before the Court on May 1, 2014, for a

 suppression hearing on the Defendant’s Motion to Suppress and Memorandum of Law in

 Support of the Motion [Doc. 246], filed on April 4, 2014. Assistant United States Attorney

 Tracy Stone appeared on behalf of the Government. Attorney Mark Brown appeared on behalf

 of Defendant Deleon, who was also present.         The Court took the motion, response, and

 arguments under advisement on May 1, 2014.

                                I. POSITIONS OF THE PARTIES

        The Defendant is charged in 16 varying counts of a 58-count Indictment [Doc. 33] with

 conspiracy to distribute and possess with intent to distribute cocaine, knowingly possessing a

 firearm in furtherance of a drug trafficking crime, and conspiracy to commit money laundering.

        In his motion to suppress [Doc. 246], the Defendant seeks to suppress all recorded

 telephone conversations between himself and a confidential informant who was working on




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 behalf of the FBI.    Specifically, the Defendant argues that the communications should be

 suppressed because they were recorded without first obtaining a wiretap warrant. The Defendant

 asserts that he had a reasonable expectation of privacy in his phone conversations with the

 informant and that absent a warrant authorizing the inception of these phone calls, law

 enforcement illegally obtained the communications in violation of the Fourth Amendment and

 Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. § 2510 et. seq.

 The Defendant further maintains that any additional evidence obtained as a result of the illegally

 intercepted conversations, including the firearm at issue in this case, should likewise be

 suppressed as “fruit of the poisonous tree.”

        The Government responds [Doc. 257] that it is well-established that the Fourth

 Amendment does not protect a defendant who reveals his illegal activities to a companion, even

 if the companion is working for or cooperating with law enforcement. Because the informant in

 this case was a party to the phone calls and consensually recorded his communications with the

 Defendant, the Government maintains there is no Fourth Amendment implication. In addition,

 the Government submits that Title III does not apply to consensually recorded phone calls and

 resulting evidence. For these same reasons, the Government submits that the Defendant’s “fruit

 of the poisonous tree” argument is without merit.

                               II.    FACTUAL BACKGROUND

        During the May 1 suppression hearing, no testimony or evidence was presented. Counsel

 for the parties agreed that there was no factual dispute in this case and stipulated to the facts as

 follows:

        During the investigation of this case, the FBI obtained numerous recorded telephone



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 conversations between the Defendant and a confidential informant. The informant, who was

 working at the behest of law enforcement, was a party to each of the phone conversations at issue

 and consented to the calls being recorded. The Defendant had no knowledge that his phone

 conversations with the informant were being recorded. While there were several Title III wiretap

 warrants issued in this case, there was never a warrant issued for the Defendant’s phone number.

 Rather than obtain a warrant, law enforcement relied on the informant to record his phone

 conversations with the Defendant.                The subject of these communications were to set up

 controlled drug transactions, as well as a controlled purchase of a firearm, between the

 Defendant and the informant as charged in Counts 18, 19, 22, 23, 24, 27, 30, 35, 36, 39, 40, 43,

 45, and 50 of the Indictment.1 Specifically, the consensually recorded phone conversations

 resulted in the informant completing eight controlled cocaine buys from the Defendant between

 February 13, 2013, and June 7, 2013, and a controlled purchase of a firearm from the Defendant

 and another co-conspirator on June 7, 2013. In addition, the informant purchased an ounce of

 suspected cocaine from the Defendant at the Defendant’s residence on July 3, 2013.

                                                  IV. ANALYSIS

            The Fourth Amendment protects citizens against unreasonable searches and seizures.

 U.S. Const. amend IV. This protection extends only to constitutionally protected areas where a

 person can be said to have a reasonable expectation of privacy from governmental intrusion.

 United States v. Meriweather, 917 F.2d 955, 958 (6th Cir. 1990). Whether a person can claim a

 “constitutionally protected reasonable expectation of privacy” is twofold. California v. Ciraolo,

 476 U.S. 207, 211 (1986) (quoting Katz v. United States, 389 U.S. 347, 360 (1967)). First, an




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     The recorded phone calls were also instrumental in bringing about other counts charged in this conspiracy.
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 individual must have manifested a subjective expectation of privacy into the thing being

 searched. Id. Second, society must be willing to recognize that expectation as reasonable. Id.

        In his motion to suppress, the Defendant argues [Doc. 246 at 4] that he had a “reasonable

 expectation of privacy” in his phone conversation with the informant. It is undisputed that the

 Defendant did not know that his phone calls with the informant were being recorded. Thus, as to

 the first prong of the inquiry, the Court finds that the Defendant has exhibited a subjective

 expectation of privacy in these communications.

        In regard to the second prong, however, the Court finds that the Defendant’s privacy

 interest was not reasonable. “The test of legitimacy is not whether the individual chooses to

 conceal assertedly ‘private’ activity. Rather, the correct inquiry is whether the government’s

 intrusion infringes upon the personal and societal values protected by the Fourth Amendment.”

 Oliver v. United States, 466 U.S. 170, 182-83 (1984). Our Supreme Court has established that

 the Fourth Amendment does not “protect[] a wrongdoer’s misplaced belief that a person to

 whom he voluntarily confides his wrongdoing will not reveal it.” Hoffa v. United States, 385

 U.S. 293, 302 (1966). “[H]owever strongly a defendant may trust an apparent colleague, his

 expectations in this respect are not protected by the Fourth Amendment when it turns out that the

 colleague is a government agent regularly communicating with the authorities.”    United States

 v. White, 401 U.S. 745, 749 (1971) (plurality opinion).

        The Defendant attempts to distinguish Hoffa and White from the instant case on the

 grounds that in those Supreme Court cases, the recorded conversations at issue were made by an

 informant who was in the physical presence of the defendant when the statements were made.

 By contrast, the Defendant argues that he believed he was engaged in a private phone



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 conversation with another person which changes the privacy interests one could expect.

 Contrary to the Defendant’s assertion, the Court finds that the line of reasoning established in

 Hoffa and White is no less applicable where a defendant, as is in this case, makes the statements

 over the phone. See Manetta v. Macomb Cnty. Enforcement Team, 141 F.3d 270, 276 n.5 (6th

 Cir. 1998) (holding that “neither the United States Constitution nor any federal statute prohibits

 law enforcement officials from recording or listening to phone conversations so long as one of

 the parties to the conversation has consented”); see also United States v. McKneely, 69 F.3d

 1067, 1073 (10th Cir. 1995) (“When the government records a defendant’s conversation with

 another party, pursuant to that party’s consent, neither the Fourth Amendment nor [Title III] is

 violated.”); United States v. Tangeman, 30 F.3d 950, 952 (8th Cir. 1994) (holding the same).

        Accordingly, the Court finds that the Defendant’s misplaced confidence in an individual

 who was acting as an informant for the FBI by consensually recording his/her phone

 conversations with the Defendant is not the type of government action the Fourth Amendment

 seeks to prohibit. Therefore, the Defendant’s Fourth Amendment challenge is not well-taken.

        The Defendant also argues that the recorded communications were illegal pursuant to

 Title III. During the suppression hearing, the Defendant essentially argued that because law

 enforcement knew who he was and had probable cause to obtain a wiretap warrant prior to the

 time the phone conversations were recorded, law enforcement should have done just that, and

 therefore, it was improper to rely on the informant instead.

        The Court finds no support in the Defendant’s contention. Title III specifically states that

 “[i]t shall not be unlawful under this chapter for a person acting under color of law to intercept a

 wire, oral, or electronic communication, where such person is a party to the communication or



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 one of the parties to the communication has given prior consent to such interception.” 18 U.S.C

 § 2511(2)(c). “[I]nformants who record private conversations at the direction of government

 investigators are ‘acting under color of law.’” Obron Atl. Corp. v. Barr, 990 F.2d 861, 864 (6th

 Cir. 1993) (quotations omitted). Thus, the government has no obligation to obtain a warrant

 authorizing the recording of a telephone conversation where a party to the conversation consents

 to it being recorded. See United States v. Porter, 29 F. App’x 232, 238 (6th Cir. Jan. 28, 2002)

 (finding that “where the government makes a recording with the consent and cooperation of a

 government informant who is a participant in the conversation, there is no duty to inform the

 defendant or to obtain a court order”); United States v. Hodge, 539 F.2d 898, 904 (6th Cir. 1976)

 (holding that “[i]t was the intent of [Title III] to allow consensual interception of telephone

 conversations without an authorizing warrant”) (citing 18 U.S.C. § 2511(2)(c)). In fact, our

 appellate court has gone so far as to say that under such circumstances, there is no “interception”

 or “eavesdropping” that takes place. Smith v. Cincinnati Post & Times-Star, 475 F.2d 740, 741

 (6th Cir. 1973).

        In the present matter, it is undisputed that the informant was working for the FBI and

 therefore he was “acting under color of law.” Moreover, it is undisputed that the informant was

 a party to the communications at issue and gave consent to each of the communications being

 recorded. Therefore, the Court finds that a warrant was unnecessary to record the telephone

 conversations between the Defendant and the informant. Accordingly, the Defendant’s Title III

 argument is not well-taken.




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                                            IV.      CONCLUSION

         After carefully considering the evidence, the parties’ filings and arguments, and the

 relevant legal authorities, the Court finds no basis to suppress the recorded communications. For

 the reasons set forth herein, it is RECOMMENDED2 that the Defendant’s Motion to Suppress

 and Memorandum of Law in Support of the Motion [Doc. 246] be DENIED.

                                                      Respectfully submitted,

                                                            s/ H. Bruce Guyton
                                                      United States Magistrate Judge




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   Any objections to this report and recommendation must be served and filed within fourteen (14) days after service
 of a copy of this recommended disposition on the objecting party. Fed. R. Crim. P. 59(b)(2) (as amended). Failure
 to file objections within the time specified waives the right to review by the District Court. Fed. R. Crim. P.
 59(b)(2); see United States v. Branch, 537 F.3d 582, 587 (6th. Cir. 2008); see also Thomas v. Arn, 474 U.S. 140,
 155 (1985) (providing that failure to file objections in compliance with the required time period waives the right to
 appeal the District Court’s order). The District Court need not provide de novo review where objections to this
 report and recommendation are frivolous, conclusive, or general. Mira v. Marshall, 806 F.2d 636, 637 (6th Cir.
 1986). Only specific objections are reserved for appellate review. Smith v. Detroit Federation of Teachers, 829
 F.2d 1370, 1373 (6th Cir. 1987).
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